                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

KATHLEEN BIESTERFELD, Individually,
As mother & Next Best Friend of
NICHOLAS BIESTERFELD, and
RONALD BIESTERFELD,

                       Plaintiff,
        v.                                                 No.

ARIOSA DIAGNOSTICS, INC.; ARIOSA
DIAGNOSTICS CLINICAL
LABORATORY; and HARMONY
PRENATAL TESTING,

                       Defendants.

                                     NOTICE OF REMOVAL

       The defendant, ARIOSA DIAGNOSTICS, INC. (“Ariosa”), by its attorneys, hereby

removes this action, which is currently pending in the Circuit Court of Cook County Illinois

(Case No. 2021 L 004834) to the United States District Court for the Northern District of Illinois,

Eastern Division, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446. In support of its notice of

removal, defendant states as follows:

                                    STATEMENT OF THE CASE

       1.      Removal of this case is appropriate on the basis of diversity jurisdiction because

the parties are completely diverse and the amount in controversy exceeds $75,000, exclusive of

interest and costs.

       2.      Plaintiffs filed their complaint in the Circuit Court of Cook County, Illinois on

May 11, 2021, under Case No. 2021 L 004834. See Complaint, attached as Exhibit A. Plaintiffs

seek recovery against defendant, Ariosa Diagnostics, Inc., alleging violation of the Illinois

Consumer Fraud Act, Common Law Fraud, Breach of Express Warranty, Breach of Implied
Warranty of Merchantability, and negligence in connection with a Harmony Prenatal Test

performed on Kathleen Biesterfield. Specifically, plaintiffs allege that Ariosa Diagnostics, Inc.,

misrepresented the accuracy of the Harmony Prenatal Test in detecting chromosomal

abnormalities, including the chromosomal abnormality Trisomy 21 (Down syndrome) and, as a

result, plaintiffs suffered injuries, harm, and economic loss for the past, present and future. See

id. at ¶¶ 15 and 21.

       3.      In the complaint, plaintiffs pray for relief “in an amount in excess of Fifty

Thousand Dollars ($50,000.00).” Ex. A, at 4, 6, 8, 9 and 10.

       4.      In addition to Ariosa Diagnostics, Inc, plaintiffs’ complaint names Ariosa

Diagnostics Clinical Laboratory and Harmony Prenatal Testing, as defendants. See Ex. A.

Plaintiff alleges that Ariosa Diagnostics Clinical Laboratory is a division of Ariosa Diagnostics,

Inc. and located in San Jose California. See Ex. A, at ¶ 4. Plaintiff makes no specific allegations

as to the identity or location of Harmony Prenatal Testing. On information and belief, neither

Ariosa Diagnostics Clinical Laboratory nor Harmony Prenatal Testing are legal entities that can

properly be named as defendants in this matter. As of this filing, the electronic docket of the

Circuit Court of Cook County does not reflect service on either Ariosa Diagnostics Clinical

Laboratory or Harmony Prenatal Testing.

       5.      Defendant, Ariosa Diagnostics, Inc accepted service of the complaint on May 17,

2021. See May 17, 2021 Email accepting service, attached as Exhibit B.

                                  JURISDICTION & VENUE

       6.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §

1332(a)(1) because there is complete diversity of citizenship between plaintiffs and Ariosa

Diagnostics, Inc and the amount in controversy exceeds $75,000, exclusive of interest and costs.



                                               -2-
       7.      This notice of removal has been filed within 30 days of the date defendant

received the complaint and accepted service. 28 U.S.C. § 1446(b)(1). Defendant’s notice of

removal is filed within one-year of the commencement of this action. See 28 U.S.C. §

1446(c)(1).

       8.      Venue is proper pursuant to 28 U.S.C. §§ 1441(a) and 1446(a) because the United

States District Court for the Northern District of Illinois, Eastern Division, is the federal judicial

district and division embracing the Circuit Court of Cook County, Illinois where the subject

action was originally filed, and the acts complained of in the Plaintiff’s Complaint occurred in

DuPage County, Illinois.

                                  CITIZENSHIP OF THE PARTIES

       9.      Pursuant to 28 U.S.C. § 1332(a)(1), there is complete diversity of citizenship

between the plaintiffs and defendant to this action. See Ex. A, at ¶¶ 1 and 3.

       10.     Plaintiffs reside in the Roselle, Illinois. See Complaint, Ex. A, ¶ 1.

       11.     Ariosa Diagnostics, Inc., is a Delaware Company with its principal place of

business in San Jose, California. See Ariosa Diagnostics, Inc.’s Fed. R. Civ. P. 7.1 Disclosure

Statement, ¶ 1, filed herewith.

                                  AMOUNT IN CONTROVERSY

       12.     As the proponent of removal, the defendant has the burden of showing the

minimum amount in controversy for diversity jurisdiction by a preponderance of evidence

available at the time of removal. 28 U.S.C. § 1446(c)(2)(B); Oshana v. Coca-Cola Co., 472 F.3d

506, 511 (7th Cir. 2006); see also Brill v. Countrywide Home Loans, Inc., 427 F.3d 446, 449 (7th

Cir. 2005) (“The question is not what damages the plaintiff will recover, but what amount is ‘in

controversy’ between the parties.”). Once the removing party sets out the amount in controversy,



                                                -3-
the plaintiff can only defeat jurisdiction by proving to a legal certainty that the claim seeks less

than the jurisdictional amount. Oshana, 472 F.3d at 511. The Seventh Circuit has provided the

legal standard concerning the amount in controversy requirement: “unless recovery of an amount

exceeding the jurisdictional minimum is legally impossible, the case belongs in federal court.”

Back Doctors Ltd. v. Metropolitan Property & Casualty Inc. Co. 637 F.3d 827, 830 (7th Cir.

2011).

         13.   Here, Plaintiffs’ Complaint alleges that Plaintiffs “have suffered and will continue

to suffer, emotional distress and financial costs in raising a child with Down Syndrome,” and

“have and will continue to suffer loss of income and earnings, past, present and future and

earning capacity.” Pl. Comp. at ¶¶ 101-102.        Upon information and belief, the amount in

controversy in this action, exclusive of interest and costs, exceeds Seventy-Five Thousand

dollars ($75,000.00), pursuant to 28 U.S.C. § 1332(a). Although Plaintiffs do not plead a

specific amount of damages in their complaint, plaintiffs request relief “in an amount in excess

of Fifty Thousand Dollars ($50,000.00).” Complaint, Ex. A, at 4, 6, 8, 9 and 10. It is Ariosa’s

good-faith belief that the amount in controversy, exclusive of interest and costs, exceeds

Seventy-Five Thousand dollars ($75,000.00). Courts have routinely held that allegations of

damages similar to those made by Plaintiff here make it “obvious from the face of the complaint

that the plaintiffs’ damages exceed[] the jurisdictional amount….” McCoy v. Gen. Motors Corp.,

226 F. Supp. 2d 939, 942 (N.D. Ill. 2002). See also Congdon v. Cheapcaribbean.com, No 17 C

5502, 2017 WL 5069960 at *4-5 (N. Dist. Ill. Nov. 3, 2017); and Stigleman v. Wal-Mart Stores,

Inc., No. 16-1060, 2016 WL 1611577 at *3 (C. Dist. Ill. April 22, 2016).

         14.   Furthermore, defendants can prove jurisdictional facts by reference to plaintiff’s

settlement demands or plaintiff’s informal estimate of damages. See Congdon at *4 (citing




                                               -4-
Meridian Sec. Ins. Co. v. Sadowski, 441 F.3d 536, 541 (7th Cir. 2006). In this case, Plaintiffs in

pre-suit communications indicated that the plaintiffs intended to claim in excess of $4 million as

damages in this matter. Exhibit “C”, attached hereto. Plaintiffs’ claimed damages are far in

excess of the jurisdictional requirement and leave no doubt that the amount in controversy

requirement for removal has been satisfied.

       15.     Thus, in the present action, plaintiff’s allegations and claimed damages are more

than enough to establish diversity jurisdiction and remove this case from the Circuit Court of

Cook County, Illinois to the United States District Court for the Northern District of Illinois.

       16.     Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of the process, pleadings,

orders, and documents from the state court action, are included with this notice of removal and

attached as Exhibit D.

       17.     Contemporaneous to filing this notice of removal, Ariosa Diagnostics, Inc. will

file a notice of filing of notice of removal with the Clerk of the Circuit Court of Cook County,

Illinois. See Notice of Filing, attached as Exhibit E. Defendant will also serve a copy of the same

on plaintiff’s counsel.

       WHEREFORE, the defendant, ARIOSA DIAGNOSTICS, INC, hereby removes this

case from the Circuit Court of Cook County, Illinois to the United States District Court for the

Northern District of Illinois, Eastern Division.




                                                   -5-
Dated: June 8, 2021

                            Respectfully submitted,


                      By:
                            Sherri M. Arrigo, One of the Attorneys for the
                            Defendant, ARIOSA DIAGNOSTICS, INC

                            DONOHUE BROWN MATHEWSON & SMYTH LLC
                            Sherri M. Arrigo (ARDC No. 06236640)
                            Timothy L. Hogan (ARDC No. 6277672)
                            140 South Dearborn Street, Suite 800
                            Chicago, IL 60603
                            (312) 422-0900
                            service@dbmslaw.com
                            arrigo@dbmslaw.com
                            hogan@dbmslaw.com




                                    -6-
                                CERTIFICATE OF SERVICE

Pursuant to Federal Rule of Civil Procedure 5 and Northern District of Illinois Local Rule 5.5, the
undersigned, an attorney of record in this case, hereby certifies that, on June 8, 2021, a true and
correct copy of NOTICE OF REMOVAL was filed electronically by CM/ECF, which caused
notice to be sent to all counsel of record.



                      Dated: June 8, 2021 __________________________________




                                               -7-
